O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                         for the

                                                        Western District of North Carolina

                     United States of America                              )
                                v.                                         )
                                                                           )   Case No:    5:00CR47-04
                   CARLOUS GERRARD HOOD
                                                                           )   USM No: 16535-058
Date of Previous Judgment:            08/22/2002                           )   Tanzania C. Cannon-Eckerle
(Use Date of Last Amended Judgm ent if Applicable)                         )   Defendant’s Attorney


                      Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                     the last judgment issued) of               months is reduced to                                                       .

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    35                Amended Offense Level:                                                33
Criminal History Category: II                Criminal History Category:                                            II
Previous Guideline Range:  240 to 240 months Amended Guideline Range:                                              240       to 240   months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
                      Pursuant to USSG §5G1.1, the sentence imposed may not be less than the statutorily required
                      minimum sentence. In this case, the statutory mandatory minimum sentence was deemed to be the
                      guideline sentence under §5G1.1(b). If Amendment 706 (Retroactive Crack Cocaine Amendment)
                      had been in effect at the time of the original sentencing, it would not have been of benefit to
 Other (explain):    defendant, because the statutorily mandated minimum sentence would have been the guideline
                      sentence anyway. Because defendant’s original sentence was based on the statutory minimum rather
                      than the otherwise applicable guideline sentence, notwithstanding departure under USSG §5K1.1
                      and 18 U.S.C. §3553(e), Amendment 706 has no effect on the defendant’s guideline sentence.


III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated                     08/22/2002            shall remain in effect.
IT IS SO ORDERED .

Order Date:          June 13, 2008


Effective Date: June 13, 2008
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    (if different from order date)




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